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 6                        UNITED STATES DISTRICT COURT
 7                      SOUTHERN DISTRICT OF CALIFORNIA
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 9   UNITED STATES OF AMERICA,                 CASE NO.: 20CR3665-JLS
10                      Plaintiff,
11         v.                                  ORDER GRANTING JOINT MOTION
                                               TO CONTINUE MOTION
12   MATTHEW P. HERNANDEZ,                     HEARING/TRIAL SETTING
13                      Defendant.
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16         Upon joint motion of the parties, IT IS HEREBY ORDERED that
17   Mr. Hernandez’s Motion Hearing/Trial Setting, currently scheduled for May 7,
18   2021, be continued to June 11, 2021, at 1:30 p.m. Defendant shall file an
19   acknowledgment of the new hearing date by May 21, 2021.
20         The Court finds the delay attributable to the continuance to be excludable
21   pursuant to 18 U.S.C. § 3161(h)(1)(D) and in the interest of justice for the reasons
22   set forth in the Order of the Chief Judge No. 63-A.
23         SO ORDERED.
24   Dated: May 5, 2021
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